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                          United States District Court
                           Middle District of Florida
                               Orlando Division

   Matthew Larosiere,
             Plaintiff,

   v.

   Cody Rutledge Wilson, DEFCAD, Inc.,
   Defense Distributed and Dioskouroi
   LLC,
             Defendants.

   __________________________                   No. 6:24-cv-1629


   Defense Distributed,
             Counterplaintiffs

   v.

   The Gatalog, Matthew Larosiere,
   John Elik, Alexander Holladay, Peter
   Celentano, Josh Kiel Stroke, John
   Lettman, The Gatalog Foundation, and
   MAF Corp,
               Counterdefendants.




                 RENEWED MOTION FOR ENTRY OF DEFAULT
                    JUDGMENT AS TO PETER CELENTANO
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         Counterplaintiff Defense Distributed by and through their undersigned

   attorney, F. Andino Reynal, and in support of its request for entry of default

   as to Peter Celentano, states:

         Counterplaintiff filed its Amended Third-party Complaint on January

   3, 2025. (Dkt 52). Counterplaintiff was granted an Extension of Time to

   serve Peter Celentano on April 18, 2025. (Dkt 93). A copy of the Amended

   Third-party Complaint was served on Peter Celentano (hereinafter “Mr.

   Celentano”) via personal service on May 1, 2025, by Sheriff’s Deputy

   Joseph DeVoe at 5526 Niagara Street, Ext., Pod 4, Lockport, NY 14094, as

   Mr. Celentano is currently incarcerated there. See Affidavit of Service

   attached hereto as Exhibit A. The Affidavit of Service was filed on

   May 5, 2025 in compliance with Rule 1.10(a), which requires proof of

   service to be filed within 21 days of service (Dkt. 95).


         Mr. Celentano is of full age, not otherwise incapacitated, and not

   serving overseas as an active duty service member, as in the Affidavit of

   Service, Sheriff’s Deputy Joseph DeVoe stated that when asked if he was

   serving in the military, Mr. Celentano said no. See Exhibit A; See also

   Affidavit of F. Andino Reynal in Support of Request for Entry of Default

   attached hereto as Exhibit B.
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          The Middle District of Florida has previously found that “[a]. . return of

   service is presumed to be valid and satisfies a plaintiff's initial prima facie

   burden, absent strong and convincing evidence presented to the contrary.”

   Mybusinessloan.com,       LLC     v.   F.   Networking         Events,   Inc.,   No.

   8:15-CV-2739-T-36JSS, 2016 WL 3919484, at *3 (M.D. Fla. June 10,

   2016), report and recommendation adopted, No. 8:15-CV-2739-T-36JSS,

   2016 WL 3906959 (M.D. Fla. July 19, 2016). Additionally, the Middle

   District of Florida has found that “Federal Rule of Civil Procedure 4(e)

   provides that an individual may be served by delivering a copy of the

   summons and the complaint to the individual personally.” United States v.

   Joseph, No. 8:23-CV-1015-KKM-JSS, 2023 WL 8261327, at *2 (M.D. Fla.

   Nov.      8,     2023),      report     and      recommendation            adopted,

   No.8:23-CV-1015-KKM-JSS, 2023 WL 8254359 (M.D. Fla. Nov. 29, 2023).


          In the present case, the Amended Third-party Complaint and

   Summons were delivered to Mr. Celentano personally by Sheriff’s Deputy

   Joseph DeVoe in the housing unit where he is incarcerated, which meets

   the requirements of Fed. R. Civ. P. 4(e)(2)(A). Furthermore, this Request for

   Entry of Default is made within the 28-day deadline outlined in the Middle

   District of Florida Local Rules 1.10(b).


          Peter Celentano has failed to answer or otherwise respond to the
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   Amended Third-party complaint within 21 days of service as required by

   Federal Rule of Civil Procedure 12(a)(1)(A) and is therefore in default.


        WHEREFORE, Counterplaintiff Defense Distributed requests that the

   clerk enter a default judgment against Peter Celentano as to the Amended

   Third-party Complaint in the above-entitled matter.


        Respectfully submitted this 10th day of June, 2025.




                                             ________________________
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                    LOCAL RULE 3.01(g) CERTIFICATION



        I certify that I attempted to confer with Peter Celentano regarding this

   motion through his attorney of record in his pending federal criminal case,

   James S. Wolford, on May 27, 29, 30, and June 10. Mr. Wolford does not

   permit direct contact with Mr. Celentano because of the collateral effect it

   may have on his criminal case, but has stated that he does not represent

   Mr. Celentano in any civil matter. Mr. Wolford did not provide Mr.

   Celentano’s position on this motion. Before the filing of this motion,

   Defense Distributed made various attempts, through its New York counsel,

   to confer with Mr. Celentano about this case, but was prevented from doing

   so by Mr. Wolford.

        Mr. Larosiere, as counsel for John Elik, Josh Kiel Stroke, and John

   Lettman, opposes granting this motion.

        Mr. Zermay, as counsel for Matthew Larosiere, states that his client

   takes no position on the Motion.

        Mr. De Pury, as counsel for Alexander Hollladay and MAF, opposes

   the motion.
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                                              ________________________
                                              F. Andino Reynal


                              CERTIFICATE OF SERVICE


         I certify that a copy of this document has been served on all counsel

   of record through the Court’s electronic filing system.




                                              ____________________
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